Case 2:20-cv-00630-JMS-DLP Document 60 Filed 01/11/21 Page 1 of 2 PageID #: 1156




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 PATRICK R. SMITH, et al.                              )
                                                       )
                               Plaintiffs,             )
                                                       )
                          v.                           )        No. 2:20-cv-00630-JMS-DLP
                                                       )
 WILLIAM P. BARR, et al.                               )
                                                       )
                               Defendants.             )

          Order Granting in Part and Denying in Part Plaintiffs' Emergency Motion
                     for Pre- and Post-Execution Compliance Reports

        On January 7, 2021, the Court granted in part the plaintiffs' second motion for preliminary

 injunction and issued a preliminary injunction directing the defendants to impose additional safety

 precautions for any execution carried out at FCC Terre Haute in the next 60 days. Neither party

 has filed a notice of appeal. The plaintiffs have now moved for an additional order directing the

 defendants to create and file compliance reports before and after any such executions.

        In furtherance of the Court's interest in enforcing its preliminary injunction, and due to

 previously expressed concerns about the defendants' forthrightness, see dkt. 55 at 11, the plaintiffs'

 motion, dkt. [57], is granted in part and denied in part. Within 15 days of each execution carried

 out at FCC Terre Haute, the defendants shall each file with the Court a sworn affidavit or

 declaration under penalty of perjury attesting that they have complied with the Court's preliminary

 injunction. Any other requested relief is denied. Nothing in this entry prevents the Court from taking

 additional enforcement action, should it learn its injunction is not being followed.
        IT IS SO ORDERED.
  Date: 1/11/2021
Case 2:20-cv-00630-JMS-DLP Document 60 Filed 01/11/21 Page 2 of 2 PageID #: 1157




 Distribution:

 Robert A. Burgoyne
 PERKINS COIE LLP
 rburgoyne@perkinscoie.com

 Sarah Howland
 PERKINS COIE LLP
 showland@perkinscoie.com

 John R. Maley
 BARNES & THORNBURG, LLP (Indianapolis)
 jmaley@btlaw.com

 Caroline M. Mew
 PERKINS COIE LLP
 cmew@perkinscoie.com

 Lisa A. Olson
 U.S. DEPARTMENT OF JUSTICE (Washington DC)
 lisa.olson@usdoj.gov

 Jordan L. Von Bokern
 U.S. DEPARTMENT OF JUSTICE (Washington DC)
 jordan.l.von.bokern2@usdoj.gov

 Shelese M. Woods
 UNITED STATES ATTORNEY'S OFFICE (Indianapolis)
 shelese.woods@usdoj.gov
